                             Case 4:16-cr-00260-WTM-CLR Document 180 Filed 03/29/17 Page 1 of 7
GAS 245B                (Rev. 11/16)Judgment in a Criminal Case
DC Custody TSR



                                               United States District Court
                                                           SOUTHERN DISTRICT OF GEORGIA
                                                                    SAVANNAH DIVISION

                 UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
                                        V.

                               Morris Pollard. Jr.
                                                                                           Case Number:             4:16CR00260-5

                                                                                           USM Number:              21661-021

                                                                                           L. David Woif^
                                                                                           Defendant's Attorney
THE DEFENDANT:

Kl pleaded guilty to Count              5s
□ pleaded nolo contendere to Count(s)                               which was accepted by the court.
□ was found guilty on Count(s)                               after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                                          Nature of Offense                                                Offense Ended         Count


21 U.S.C. § 843(b); 21 U.S.C. § 843(d)(1);               Unlawful use of a communication facility                          April 11,2016           5s
18U.S.C. §2

      The defendant is sentenced as provided in pages 2 through                            of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
Ki Counts             Is, 6s, 7s, and 8s                □ is      ^ are dismissed as to this defendant on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attomey of material changes in economic circumstances.

                                                                                   March 27.2017
                                                                                   Date of Imposition of Judgment




                        CO
                                                                                   Signature of Judge
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            , r".       CSJ
                CD
            — z~z       qI
                                                                                   William T. Moore, Jr.
                 '■     cr
                 :      cv                                                        Judge, U.S. District Court
        '.n             or
                        ••c
        CD              HI"
                                                                                  Name and Title of Judge
        to              r—

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                                                                                  Date
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